Case:17-03283-LTS Doc#:24406-2 Filed:06/02/23 Entered:06/02/23 18:28:53                                         Desc:
                        Proposed Order Page 1 of 2



                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO

---------------------------------------------------------------------- X
                                                                       :
In re:                                                                 :
                                                                       :
THE FINANCIAL OVERSIGHT AND                                            : PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                      : Title III
                                                                       :
                  as representative of                                 : Case No. 17-BK-3283 (LTS)
                                                                       :
THE COMMONWEALTH OF PUERTO RICO et al.,                                : (Jointly Administered)
                                                                       :
                  Debtors.1                                            :
---------------------------------------------------------------------- X
                                                                       :
In re:                                                                 :
                                                                       :
THE FINANCIAL OVERSIGHT AND                                            : PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                      : Title III
                                                                       :
                  as representative of                                 : Case No. 17-BK-4780 (LTS)
                                                                       :
PUERTO RICO ELECTRIC POWER AUTHORITY,                                  : (Jointly Administered)
                                                                       :
                  Debtor.                                              :
---------------------------------------------------------------------- X

     [PROPOSED] ORDER GRANTING OFFICIAL COMMITTEE OF UNSECURED
       CREDITORS’ MOTION TO EXCLUDE EXPERT TESTIMONY OF MARK
                            SHANKWEILER




1
  The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four (4)
digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico
(the “Commonwealth”) (Bankruptcy Case No. 17-BK-3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii)
Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284-LTS) (Last Four
Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy
Case No. 17-BK-3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566-LTS) (Last Four
Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17-
BK-4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority
(“PBA”) (Bankruptcy Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case
numbers are listed as Bankruptcy Case numbers due to software limitations).
Case:17-03283-LTS Doc#:24406-2 Filed:06/02/23 Entered:06/02/23 18:28:53                            Desc:
                        Proposed Order Page 2 of 2



           Upon consideration of the Official Committee of Unsecured Creditors’ Motion to Exclude

Expert Testimony of Mark Shankweiler (the “Motion”),2 the Court hereby FINDS AND

DETERMINES that (i) the Court has jurisdiction to consider the Motion and the relief requested

therein pursuant to section 306(a) of PROMESA; (ii) venue is proper before this Court pursuant

to section 307(a) of PROMESA; (iii) notice of the Motion being adequate and proper under the

circumstances; and after due deliberation and sufficient cause appearing; therefore, it is hereby

ORDERED that:


           1.       The Motion is GRANTED.

           2.       Mark Shankweiler is precluded from offering any expert testimony in support of

                    the proposed plan of adjustment.

           3.       The Court shall retain jurisdiction to hear and determine all matters arising from

                    the implementation or interpretation of this Order.



Dated: June ____, 2023

                                                       ___________________________________
                                                       HONORABLE LAURA TAYLOR SWAIN
                                                       UNITED STATES DISTRICT JUDGE




2
    Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.
